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                             I N T H E I'NITED STATES DISTRICT COURT                                                       ,".,r;^gf,'i'i[P,or
                                         SOUTHERN DISTRICT OF GEORGIA                                                              ielSluc
                                                                                                                                        27 pttZtt6
                                               SAVANNAH DIVISION



UNITED STATES OF AMERICA

                                                                                             *        cR 49t-r7 6

GENARD AKINS




                                                                                     ORDER




                    whi I c            on     s! s rt / rv !n e r wv i + p se ve d     rFl casF           fol   I owi no       his       term    of


 impri sonment in ehe captioned                                                            criminal        case, Defendant pleaded

 g u i 1 t y co two counts                                     of the use of a communication                                         facility      in

 commi t t i n g ,                     causing,                  and facilitating                          a conspiracy               to possess

 wi th               the          intent           to         distribute                          and Lo distribute                   controlled

 subs t a n c e s ( h e r e i n a f t e r                                    referred               Lo as the          "drug charges" ) .

                   Unj-ted SEates v,                                Sma11s, et al-.,                       Criminal          Case No, 4:08-

 315                (S.D.              Ga.    Nov.                  l-0,             2008) . )            On June            ]-7,     2009,     the

 Honorable                        will-iam             T,          Moore,                  Jr.,     senEenced Defendant                    on Lhe

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 q!    ..h:r.'a<
         s:,        lrrqr
                              J
                                  v     f^        ^ f .'tal- of                       87 mont.hs to run Consecutively                              to

 any             term             of    imprisonment                                 imposed         in     Defendant's               subsequent

 supervised                            reLease              revocation                           proceeding           in    this      case.      on

 July                14,          2009, Defendant                                    was sentenced               to        serve     a 3o-month

 term                of       imprisonment                             in            the     supervised           release             revocation

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                v +a
                   r rd
                      : Ji   ncr             As       ,anrorrrr-ed                          ihis      ?O-month              lerm      would     run


 consecutive                           to    the          87-month term on the                                  drug charges.
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          Pursuant to                     18 U.S.C.            S 3582(c) (2),                  on March l-5, 2015,

.fudge Moore reduced                            lhe   87-month term for                        Ehe drug charges by

 sixteen         months pursuant                      to Amendment 782 Lo the UniEed States

 sentencing                 Guidelines.                 (see Doc. No. 1518, criminal- case No.

4:08-315.)                   ThereafEer,              Defendant moved in this                              case to modify

 the     3O-month t.erm of                       imprisonmenL                    imposed upon revocation                        of

 crrncrrri <ari ra'l ea sc                        The motion             was denied                  by Order       of       ,fune

 24, 20f5.                   (Doc. No. l-490.)

          Now, Defendant                        has filed           a motion            for     reconsideratlon                 of

 Che ,fune 24rh Qrder,                          in    which he suggescs Ehat Ehe factors                                        of

 l-8 U.s.C.               S 3553(a) mitigaLe                   in favor of this                      courL converting

 his     consecutive                   sentence          on revocation                   tso a concurrenL                 one.

 In     lieu         of      this      modifi.caEion,                Defendant                asks tshat the              court

 recommend                 to      the         Bureau     of        Prisons             that         he    be     al-]owed       a

 twelve-month                    period          in     community                confinement               prior        to    his



               As stated                 in     the   ,June 24Lh order,                       this        court    does not

 hnlrF     1-hF           arrthori
                          quLrlv!4eJ     tl/    t.\   rn..li f\/     a       qant-Fnee           Once        it    has       been


 imposed with                   Ehree exceptions.                    none of which appLy here.                                 See

 18 u.S.C.                S 3582(c) (2) .                The relief                requested by Defendant -

 that          is,          the        convers j-on            of        a        consecuLive                sentence           !o

 concurrent                  and       the       direcEion            that          Defendant               serve        twelve

months           in        community             confinemene                 -    are    modificaLions                  Eo his

 sentence.                   Accordingly,               Defendanc's                 mot.ion (doc.                 no.        L496)

musl be DENIED '
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            F'rrrt-hrr           i j-    is    l-he    resnonsihi           I il-w     of     the      Bureau           of


 Prisons             Eo designaLe             the pl-ace of an inmat.e's confinement.                                   18

 U . S . C . S 3 6 2 1 -( b ) .           The Bureau of             Prisons          may al-l-ow prisoners

 t.o reside               in community confinement                   centers          at the end of their

 sentences                aL its         discretion.          18 U.S.C.                S 3624(c) .                   Here,

 Defendant                 has     not        demonstrated               that        he     has      sought            the

 rF.nresfed relief                      from the Bureau of Prisons or that                             the Bureau

 of    Prj-sons abused its                     discretion           in     i E s p- l a c e m e n t d e c i s i o n . :
                                                                                                      <-----\

                       at Auqusta, ceorqia,
            oRDERENTERED                                                          chis        X7b                      Uuo

 of Auqust , 20]-5.




                                                                                      TES DISTRICT




            '
            In                 order  to challenge    the                         Bureau of    Prisons'
 determination                 for community confinement,                         a prisoner woufd have
 l-^   fi       ra    :     nal- it- i.\yr    h,,rc,,rirt-   t-/\               TT S.C.      S    2241-         in     the
                                                                     "e
district   of  his   confinement  after ful-l-y exhausEing his
administrative  remedies. See United states v. SaIdana, 273 F.
App'x 845 (11'h cir.   2008); skinner v. wi1ey, 355 F.3d 1293
(11th Cir. 2004).
